Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 1 of 53
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Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 2 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 3 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 4 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 5 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 6 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 7 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 8 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                     Voluntary Petition Page 9 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 10 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 11 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 12 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 13 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 14 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 15 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 16 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 17 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 18 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 19 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 20 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 21 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 22 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 23 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 24 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 25 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 26 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 27 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 28 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 29 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 30 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 31 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 32 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 33 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 34 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 35 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 36 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 37 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 38 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 39 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 40 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 41 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 42 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 43 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 44 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 45 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 46 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 47 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 48 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 49 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 50 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 51 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 52 of 53
Case 21-21604-GLT   Doc 1 Filed 07/12/21 Entered 07/13/21 14:19:45   Desc
                    Voluntary Petition Page 53 of 53
